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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                  §
                                          §        CAUSE NO. 1:21CR117
       v.                                 §
                                          §
RYAN TAYLOR NICHOLS AND                   §
 ALEX HARKRIDER,                          §
                                          §
               Defendants                 §

                       MOTION TO WITHDRAW AS COUNSEL

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW F. R. FILES, JR., attorney of record for RYAN TAYLOR

NICHOLS, defendant in the above and entitled numbered cause and respectfully moves

this Honorable Court for an order allowing your Movant to withdraw as attorney of

record and would respectfully show unto this Court the following:

                                              I.

       Mr. Nichols has chosen to retain other counsel who has filed his notice of

appearance. Your Movant would request an order permitting him to withdraw and

relieving him from any further obligation to Mr. Nichols in this case.

                                          Respectfully submitted,

                                          FILES HARRISON, P.C.
                                          A Professional Corporation
                                          109 West Ferguson
                                          Tyler, Texas 75702
                                          (903) 595-3573
                                          BY:____/s/_F. R. Files, Jr.________________
                                                 F. R. FILES, JR.
                                                 Bar Card No. 00000087
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                          CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that he has discussed this matter with Mr.
Danielle Rosborough, the Assistant United States Attorney assigned to the prosecution of
this case.


                                         _/s/ F. R. Files, Jr.___________________
                                         F. R. FILES, JR.


                             CERTIFICATE OF SERVICE

      I certify that on 19th day of August, 2021, a true and correct copy of the foregoing
document was forwarded via electronic mail to Assistant United States Attorney Daniel
Rosborough and to Kira Anne West, counsel for co-defendant Alex Harkrider.



                                         _/s/ F. R. Files, Jr.___________________
                                         F. R. FILES, JR.
